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                   IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION
 STACEY BAILEY,                     §
      PLAINTIFF,                    §
                                    §
 VS.                                §    CIVIL ACTION NO. 3:18-CV-01161-L
                                    §
 MANSFIELD INDEPENDENT SCHOOL       §
 DISTRICT, et al.,                  §
      DEFENDANTS.                   §


              DEFENDANT DR. JIM VASZAUSKAS’ NOTICE OF APPEAL

       Defendant Dr. Jim Vaszauskas hereby gives notice that he hereby appeals to the United

States Court of Appeals for the Fifth Federal Circuit from the trial court’s “Memorandum Opinion

and Order” entered November 21, 2019 (ECF No. 28) to the extent that the Order overruled his

Rule 12(b)(6) Motion to Dismiss (ECF No. 14) and materials supporting his Motion to Dismiss

(Reply Brief, ECF No. 23; Response to Plaintiff’s Motion for Leave to File Surreply, ECF No.

26), both because it was determined Plaintiff did state a claim against him in his individual capacity

and because it was determined that he was not entitled to qualified immunity.

Dated this 4th day of December, 2019.
                                                      Respectfully submitted,

                                                      /s/ Thomas E. Myers
                                                      Thomas E. Myers
                                                      State Bar No.14765450
                                                      Kevin C. Smith
                                                      State Bar No. 24102511

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DEFENDANT DR. JIM VASZAUSKAS’ NOTICE OF APPEAL                                                        1
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                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was served upon all counsel
of record this the 4th day of December 2019, by electronic notice via the ECF System for the
Northern District of Texas.
       Jason Smith                                         Via Electronic Delivery:
       Law Offices of Jason Smith                          jasons@letsgotocourt.com
       600 Eighth Avenue
       Fort Worth, Texas 76104
                                                           /s/ Thomas E. Myers
                                                           Thomas E. Myers




DEFENDANT DR. JIM VASZAUSKAS’ NOTICE OF APPEAL                                                   2
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